rr
Case: 1:03-cv-02908 Document #: 17 Filed: 05/20/04 Page 1 of 8 PagelD #:79

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION Pipree on
RONDELL FREEMAN, et al., )
)
Plaintiffs, )
)

Vv.

   

 

OFFICER STEVEN BOGUSIEWICZ, et al, a x
) /
Defendants, ) g
<M, “ay €
ANTONIO PARKER, ) % ig Py
) “ee Dp
Plaintiff, ) No. 04 C 2727 yO %
v. ) Vent,
) JUDGE CONLON fo ms
CITY OF CHICAGO, et al. ) >,
)
Defendants. )
NOTICE OF MOTION

 

TO: SEE ATTACHED SERVICE LIST

PLEASE TAKE NOTICE that I have this day filed with the Clerk of the United States
District Court for the Northern District of Illinois, Eastem Division, DEFENDANTS’ MOTION
FOR REASSIGNMENT BASED ON RELATEDNESS, a copy of which is attached hereto
and herewith served upon you.

PLEASE TAKE FURTHER NOTICE that I shall appear before the Honorable Judge
Der-Yeghiayan, or before such other Judge sitting in his place or stead, on the 25" day of May,
2004 at 9:00 a.m., or as soon thereafter as counsel may be heard and then and there present the
attached Motion.

DATED at Chicago, Illinois this 20" day of May, 2004.

Respectfully submitted,

30 North LaSalle Street - Suite 900 BY: ke
Chicago, Illinois 60602 J. ERNEST MINCY

(312) 742-0094 Assistant Corporation Counsel \ (

 
are

Case: 1:03-cv-02908 Document #: 17 Filed: 05/20/04 Page 2 of 8 PagelD #:80

SERVICE LIST

Standish Willis

407 §. Dearborn Street
Suite 1395

Chicago, flmois 60605
FAX: (312) 554-1012

Loevy & Loevy

321 N, May Street - Suite 100
Chicago, IL 60607

FAX: (312) 243-5902

Joseph M., Polick

30N, LaSalle Street - #1400
Chicago, IL 60602

FAX: (312) 744-6566

 
 

ee
Case: 1:03-cv-02908 Document #: 17 Filed: 05/20/04 Page 3 of 8 PagelD #:81

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION oy
RONDELL FREEMAN, ADAM SANDERS, ) soe
DAVID ANDERSON, RICKY KING, } WAY 28 2004
DANIEL HILL and JASON HODGE, j
)
Plaintiffs, ) No. 032908
v. )
) JUDGE DER-YEGHIA YAN
OFFICER STEVEN BOGUSIEWICZ, Star #19327 )
JOSEPH CHMIELIK, Star # 19327, STEVE GEORGAS, )
Star #300, JOSEPH GROH, Star #4457, DANIEL SMITH, ) A
Star #13941, MARK STRUKE, star # 12795, SGT. } S
MARTIN TANNEHILL, Star #1773, BRYAN VANDER ) 4 ¢
MEY, Star #13972, and CITY OF CHICAGO, a ) ~%% Sy,
Municipal Corporation, ) "oe ? &
Defendants, ) ,. % ee
) Voy
) “oi
ANTONIO PARKER, ) “,
)
Plaintiff, )
v. ) No. 04 C 2727
)
CITY OF CHICAGO, OFFICER STEPHEN )
BOGUSIEWICZ, OFFICER JOSEPH ) JUDGE CONLON
CHMIELIK, OFFICER STEVE GEORGAS, )
OFFICER JOSEPH GROH, OFFICER DANIEL )
SMITH, OFFICER MARK STRUKE, SERGEANT )
MARTIN TANNEHILL, OFFICER BRYAN )
VANDER MEY, OFFICER O’SHEA (Star # 7066), )
OFFICER CZARNIK (Star #19270), OFFICER WISZ ss)
(Star #13553) and UNKNOWN CHICAGO POLICE )
OFFICERS, )
)
Defendants. )

DEFENDANTS’ MOTION FOR REASSIGNMENT BASED ON RELATEDNESS
Defendant City of Chicago, by its attorney Mara §. Georges, Corporation Counsel of the

City of Chicago, and Defendants Stephen Bogusiewicz, Joseph Chmielik, Steve Georgas, Joseph

-
Ree
Case: 1:03-cv-02908 Document #: 17 Filed: 05/20/04 Page 4 of 8 PagelD #:82

Groh, Daniel Smith, Mark Struke, Martin Tannehill, Bryan Vander May, Brian O’Shea, John
Czarnik, Donald Wisz, by one of their attorneys, pursuant to Local Rule 40.4 of the Rules of the
United States District Court for the Norther District of Tllinois, hereby move to reassign Parker
v. City of Chicago, et al., Case No. 04 C 2727, with the instant case, No, 03 C 2908, to the
calendar of this court based on relatedness. In support of their motion, Defendants state:

1. Pending before this court is Case No. 03 C 2908, Rondell Freeman, et al. v. Steven

 

Bogusiewicz, etal, (“Freeman”). The original plaintiffs were Rondel! Freeman, Adam Sandcrs,
David Anderson and Ricky King. The complaint was recently amended to add two additional
plaintiffs, Daniel Hill and Jason Hodge, and to name eight individual defendants: Stephen
Bogusiewicz, Joseph Chmiclik, Steve Georgas, Joseph Groh, Daniel Smith, Mark Struke, Martin
Tannehill, and Bryan Vander May. (See Freeman Amended Complaint attached as Exhibit A).

2. The Freeman plaintifts allege violations of 42 U.S.C. §1983 and Illinois tort law
stemming from an incident that occurred on April 17, 2003, at or near the Cabrini Green housing
project in Chicago, Essentially, plaintiffs allege that the individual defendants, all Chicago
police officers, used excessive force against them during the course of the incident, and thereby
deprived them of their Fourth Amendment right to be free from unreasonable seizures. (See
Exhibit A).

3, On April 15, 2004, plaintiff Antonio Parker filed a complaint against the City of
Chicago and eleven Chicago police officers: Stephen Bogusiewicz, Joseph Chmielik, Steve
Georgas, Joseph Groh, Daniel Smith, Mark Struke, Martin Tannehi!l, Bryan Vander May, Brian
O'Shea, John Czarnik, Donald Wisz. The case is styled Antonio Parker y. City of Chicago, et.al,

Case No. 04 C 2727 (“Parker”), and is pending before the Honorable Suzanne B, Conton of this

 
eee
Case: 1:03-cv-02908 Document #: 17 Filed: 05/20/04 Page 5 of 8 PagelD #:83

court. The Parker complaint also alleges violations of 42 U.S.C. §1983 and Mlinois tort law
stemming from the same incident on April 17, 2003, and contends that the defendants used
excessive force during the incident. (See Parker Complaint attached as Exhibit B).

4, The Freeman case (No. 03 C 2908) and the Parker case (No. 04 C 2727) arise
from the same occurrence and involve the same issues of fact and law. As indicated, both cases
arise from and involve the same incident at (he Cabrini Green housing project on April 17, 2003.
(Exh. A, 912; Exh. B. 44). Plaintiff Parker was a passenger in Plaintiff Freeman’s vehicle along
with plaintiffs Freeman, Sanders and Anderson. (Exh. A, {14; Exh, B. 5). All of the defendants
named in Freeman are also named in Parker. All plaintiffs in both cases allege their Fourth
Amendment right to be free from unreasonable seizures was violated by the use of excessive
force by the defendants. In particular, plaintiffs Freeman, Parker, Sanders and Anderson allege
that excessive force was used in removing them from Freeman’s vehicle. (Exh. A, f{/16-22; Exh.
B. 447-14). Therefore, both the factual and legal issues to be resolved will be similar for both
cases,

5, The consolidation and handling of the Freeman case (No. 03 C 2908) and the
Parker case (No, 04 C 2727) by this court is likely to result in a substantial saving of judicial
time and effort. Given the identities of the parities and issues, it is clear that the same plaintiffs
and defendants will be witnesses in both cases. There is no reason why each party or witness
should be required to give a separate deposition in each case, or why discovery of the factual and
legal issues involved cannot be consolidated before this court. Consolidation and handling of
both cases by this court will avoid duplicative discovery, as well as escalating litigation costs and

attorey’s fees,

 
 

Case: 1:03-cv-02908 Document #: 17 Filed: 05/20/04 Page 6 of 8 PagelD #:84

6. The Freeman case (No, 03 C 2908) pending before this court has not progressed
to the point where designating the later filed Parker case (No. 04 C 2727) as related would delay
the proceedings in the earlier filed Freeman casc. On March 11, 2004, this court took under
advisement the #reeman plaintiffs’ agreed motion to stay discovery pending the outcome of the
state criminal procecdings against them, and discovery has not proceeded to a point where
plaintiff Parker would be unduly prejudiced by designating his case as related.

7. Furthermore, given that both cases arise from the same incident, the identity of the
parties and the similarity of the factual and legal issues to be decided, both cases ure susceptible
of disposition in a single proceeding.

WHEREFORE, in light of the foregoing, Defendants respectfully request that this court
enter an order pursuant to Local Rule 40.4 finding that the #reeman case (No. 03 C 2908) and
the Parker case (No. 04 C 2727) are related, ihat reassignment of the Parker case to this court
should take place, and such other relief as the court deems appropriate.

Respectfully submitted,

MARA 8. GEORGES
Corporation Counsel

   
     

By: eae

RNEST MINCY JOSERA M. POLICK

    

Assistant Corporation Counsel senior Counsel

tor Defendant City of Chicago for the Individual Defendants
30 North LaSalle Strect 30 North LaSalle Street
Suite 900 Suite 1400

Chicago IL 60602 Chicago IL 60602

(312) 742-0094 (312) 742-0029

Attorney No, 6231142 Attorney No. 06203682
ee
Case: 1:03-cv-02908 Document #: 17 Filed: 05/20/04 Page 7 of 8 PagelD #:85

CERTIFICATE OF SERVICE

[hereby certify that { have caused a true and correct copy of the above and foregoing
NOTICE OF MOTION and DEFENDANTS’ MOTION FOR REASSIGNMENT BASED
ON RELATEDNESS to be sent via facsimile transmission and mailed to the person(s) indicated

on the foregoing Notice, at the address(es) therein shown, on this 20" day of May, 2004.

 

“RNEST MINCY

 
 

See Cuse
Lile Kor

Liahtbitls

 

 
